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               EXHIBIT A
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                     E-Served: Feb 20 2025 2:40PM PST Via Case Anywhere

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                        February 19, 2025
Social Media Cases                                                                      9:00 AM


Judge: Honorable Carolyn B. Kuhl                 CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                  ERM: None
Courtroom Assistant: M. Miro                     Deputy Sheriff: None

APPEARANCES:
For Plaintiff(s): No Appearances
For Defendant(s): No Appearances
Other Appearance Notes: (See Appearances Below)



NATURE OF PROCEEDINGS: Hearing on Motion for Leave to File First Amended Short
Form Complaint on Behalf of Bellwether Plaintiff Jaime Loach (23STCV19697); Hearing on
Motion - Other to Lift the Stay on Cases with School District Plaintiffs From Outside of
California, Florida, Washington, and Rhode Island on Behalf of Plaintiffs (22STCV21355);
Further Status Conference (All Cases)

The matter is called for hearing.

Pursuant to Government Code sections 68086, 70044, and California Rules of Court, rule 2.956,
Gail Peeples CSR# 11458, certified shorthand reporter is appointed as an official Court reporter
pro tempore in these proceedings, and is ordered to comply with the terms of the Court Reporter
Agreement. The Order is signed and filed this date.

Appearances:

Plaintiffs – Present
Davis S Vaughn, Joseph G VanZandt, Mariana A McConnell, Adam S Davis, Michael A
Akselrud.

Plaintiffs – LACourtConnect
Madeline Basha, Anna Katz, Marc J Mandich, David McLendon, Catherine Heacox, Narmeen
Nkeiti, Jennifer Emmel, Melanie Ash, Justin Olson, Gabriel Egli, Jennifer S Domer,
Josh Bauer, Erica Kubly, Cherisse Cleofe, Lexi Hazam.

Defendants – Present
Brian M Ercole, Jesse S Krompier, Christopher Chiou, Ashley M Simonson, Isaac D Chaput,
Jonathan H Blavin, Nicholas J Begakis, Chris Pistilli, Ariel T Teshuva, Megan Egli, Lennette W
Lee, Michael Vives, Michael X Imbroscio.

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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                     Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                             February 19, 2025
Social Media Cases                                                                           9:00 AM


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Judicial Assistant: L. M'Greene                       ERM: None
Courtroom Assistant: M. Miro                          Deputy Sheriff: None

Defendants – LACourtConnect
Andrew L. Campbell.

Other – LACourtConnect
Lauren Kiesel.

The court hears argument on Bellwether Plaintiff Jamie Loach’s Motion for Leave to File First
Amended Short Form Complaint in Case No. 23STCV19697. The court grants the Motion for
the reasons stated on the record at the hearing, without prejudice to Defendant Google later
raising the issue of the statute of limitations. The First Amended Short Form Complaint is
ordered to be filed by the Plaintiff within 5 days. The time to respond to the First Amended Short
Form Complaint is staying pending counsel meeting and conferring regarding when the issue of
the statute of limitations should be briefed.


The court hears argument on Plaintiffs’ Motion to Lift the Stay on Cases with School District
Plaintiffs from Outside of California, Florida, Washington, and Rhode Island.

The Court takes the Hearing on Motion - Other to Lift the Stay on Cases with School District
Plaintiffs From Outside of California, Florida, Washington, and Rhode Island on Behalf of
Plaintiffs (22STCV21355) under submission as to case 22STCV21355. Filed in this case number
for filing purposes only.

Regarding the selection of bellwether trial pool plaintiffs, the court rules as follows:
(1) The court will set three bellwether trial dates; the first trial date already has been set for Nov.
25, 2025. Counsel are to meet and confer as to the proposed dates for bellwether trials 2 and 3.
(2) The court will select three bellwether trial plaintiffs (from the bellwether discovery pool) for
each trial date.
(3) The court will specify the order in which the plaintiffs selected for each trial date will
proceed to an individual trial.
(4) If a plaintiff set for trial on a particular trial date voluntarily dismisses or is dismissed
pursuant to a court ruling (e.g., a defense motion for summary judgment is granted), the court
will try the case of the next bellwether plaintiff set for trial on that date. If all three plaintiffs set
for trial on a particular date are dismissed, the court will not advance to trial plaintiffs set for a
subsequent trial date.
(5) Motions for summary judgment, motions for summary adjudication and motions in limine
other than general causation Sargon motions will be briefed on a separate schedule for each trial
date.
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
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JCCP5255                                                                          February 19, 2025
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Courtroom Assistant: M. Miro                       Deputy Sheriff: None


To facilitate the court’s selection and ordering of bellwether trial plaintiffs:
(1) For each bellwether discovery pool plaintiff, the parties will provide to the court on a rolling
basis (as discussed on the record at the hearing) the following information: (a) the Plaintiff Fact
Sheet and any amendments; (b) the transcript of all depositions conducted for each Plaintiff
during the bellwether discovery period (counsel will consider whether an “AI summary” of the
depositions also should be provided); (c) a Summary Sheet for each bellwether discovery pool
plaintiff with (i) name, (ii) residence; (iii) age; (iv) defendant(s) sued; (v) conditions for which
treatment was received by the plaintiff; and (vi) a statement of 100 words from each side
addressing the age at which the plaintiff began using each or any of defendants’ social media
sites, the plaintiff’s frequency of use of defendants’ social media sites and the features of each
defendant’s social media sites that the plaintiff used.
(2) Counsel for each side shall file with the court a brief setting forth: (1) that side’s
recommendations for 9 bellwether discovery pool plaintiffs to be selected for the three
bellwether trials, the order in which they should be selected and the reasons why they should be
selected (defendants may present separate arguments within the one brief), and (2) that side’s
reasons for recommending that the other 8 (or fewer) remaining bellwether discovery pool
plaintiffs should be postponed for trial. The briefs shall be filed by April 1, 2025. Counsel shall
confer and inform the court of the agreed length of these briefs.
(3) The court will hear argument on the selection and ordering of bellwether trial plaintiffs on
April 15, 2025 at 1:45 pm.

After hearing from the parties, the court determines that the schedule for motions in limine for
Trial 1, other than general causation Sargon motions in limine, shall be as follows: Motions to be
filed by Aug. 29, 2025; Oppositions to be filed by Sept. 26, 2025; Replies to be filed by October
8, 2025.; argument shall be heard at the Final Status Conference Oct. 16, 2025 or as otherwise
set by the court.

The parties are to follow the Federal Rules of Civil Procedure as to the format for expert reports.

After discussion with the parties the court determines that Plaintiffs may, but are not required to,
include in the general causation expert reports to be exchanged April 18, 2025 opinions of a
general causation expert on subjects other than general causation. Defendants need not designate
a rebuttal or supplemental expert on May 16, 2025 to address any opinion(s) other than the
Plaintiffs’ experts’ opinions on general causation. Moreover, Defendants can determine what
opinions of the experts designated on April 18 the Defendants wish to address in the general
causation Sargon motions in limine to be filed July 28, and Defendants do not waive any
objections to an expert’s other opinions (non-general causation opinions). However, depositions
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                         February 19, 2025
Social Media Cases                                                                       9:00 AM


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Courtroom Assistant: M. Miro                          Deputy Sheriff: None

of experts will cover all of the expert’s opinions.

As previously stated, general causation experts are to be disclosed on April 18 and May 16. This
does not include experts who only will address plaintiff-specific causation.

Court and counsel discuss Defendants’ bellwether discovery production. Counsel for Plaintiffs
and counsel for Meta and Snap are to file by February 27 a Joint Report regarding any remaining
issues concerning production from “cold storage” of data pertaining to Plaintiffs’ user accounts
that have recently been identified. Counsel are to post a joint message on Case Anywhere when
the Joint Report is filed and inform the court whether either side requests an informal discovery
conference on this issue.

For the reasons stated on the record, and particularly in light of late-produced (non-DYI)
documents, the court orders that Plaintiff E.S. may be deposed for an additional one-half hour by
videoconference.

The parties have agreed to defer IMEs to after the selection of the bellwether trial pool.

Further Status Conference is scheduled for 03/19/2025 at 09:00 AM in Department 12 at Spring
Street Courthouse on cases 22-CIV-03178, 22-CIV-03731, 22-CV-066, 22CV019089,
22CV409251, 22SMCV02834, 22SMCV02838, 22SMCV02875, 22STCV21355,
22STCV24332, 22STCV26778, 22STCV26829, 22STCV28200, 22STCV28201,
22STCV28202, 22STCV28204, 22STCV31543, 22STCV36006, 22STCV36184,
22STCV37068, 22STCV38197, 22STCV38204, 22STCV38670, 22STCV38918,
22STCV38956, 22STCV39250, 22STCV39268, 22STCV40543, 22STCV40977, 23-CIV-01287,
23-CIV-04600, 23CV421466, 23SMCV00026, 23SMCV00659, 23SMCV03371,
23SMCV04270, 23STCV00707, 23STCV01417, 23STCV01440, 23STCV01481,
23STCV01857, 23STCV02183, 23STCV02260, 23STCV02372, 23STCV03094,
23STCV03690, 23STCV04303, 23STCV05370, 23STCV05371, 23STCV06277,
23STCV06685, 23STCV07277, 23STCV07750, 23STCV07763, 23STCV08004,
23STCV08659, 23STCV08891, 23STCV10105, 23STCV12341, 23STCV12373,
23STCV12916, 23STCV12931, 23STCV12935, 23STCV14241, 23STCV14496,
23STCV14527, 23STCV14568, 23STCV14577, 23STCV14585, 23STCV14622,
23STCV14629, 23STCV14795, 23STCV14901, 23STCV15036, 23STCV15055,
23STCV15197, 23STCV15655, 23STCV15691, 23STCV15704, 23STCV15710,
23STCV15785, 23STCV15788, 23STCV15859, 23STCV15860, 23STCV15863,
23STCV15866, 23STCV15909, 23STCV15912, 23STCV15920, 23STCV15930,
23STCV15955, 23STCV15961, 23STCV15975, 23STCV15991, 23STCV16011,
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
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JCCP5255                                                                      February 19, 2025
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Judge: Honorable Carolyn B. Kuhl               CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                ERM: None
Courtroom Assistant: M. Miro                   Deputy Sheriff: None

23STCV16012, 23STCV16016, 23STCV16023, 23STCV16025, 23STCV16027,
23STCV16028, 23STCV16032, 23STCV16035, 23STCV16041, 23STCV16050,
23STCV16059, 23STCV16071, 23STCV16076, 23STCV16080, 23STCV16085,
23STCV16089, 23STCV16111, 23STCV16118, 23STCV16125, 23STCV16157,
23STCV16181, 23STCV16199, 23STCV16205, 23STCV16209, 23STCV16211,
23STCV16214, 23STCV16216, 23STCV16225, 23STCV16229, 23STCV16235,
23STCV16241, 23STCV16246, 23STCV16296, 23STCV16301, 23STCV16303,
23STCV16359, 23STCV16363, 23STCV16367, 23STCV16373, 23STCV16387,
23STCV16406, 23STCV16520, 23STCV16524, 23STCV16526, 23STCV16534,
23STCV16540, 23STCV16548, 23STCV16553, 23STCV16686, 23STCV16816,
23STCV16820, 23STCV16884, 23STCV16898, 23STCV16907, 23STCV16925,
23STCV16931, 23STCV16934, 23STCV16938, 23STCV16939, 23STCV16943,
23STCV16944, 23STCV16946, 23STCV16947, 23STCV16949, 23STCV16958,
23STCV16964, 23STCV16975, 23STCV16982, 23STCV16988, 23STCV16992,
23STCV16995, 23STCV16996, 23STCV17013, 23STCV17014, 23STCV17017,
23STCV17021, 23STCV17033, 23STCV17043, 23STCV17044, 23STCV17054,
23STCV17065, 23STCV17066, 23STCV17069, 23STCV17076, 23STCV17085,
23STCV17088, 23STCV17092, 23STCV17098, 23STCV17102, 23STCV17356,
23STCV17368, 23STCV17373, 23STCV17407, 23STCV17414, 23STCV17418,
23STCV17420, 23STCV17423, 23STCV17482, 23STCV17578, 23STCV17613,
23STCV17615, 23STCV17620, 23STCV17663, 23STCV17687, 23STCV17691,
23STCV17694, 23STCV17696, 23STCV17701, 23STCV17705, 23STCV17709,
23STCV17713, 23STCV17720, 23STCV17722, 23STCV17730, 23STCV17735,
23STCV17742, 23STCV17746, 23STCV17751, 23STCV17758, 23STCV17759,
23STCV17997, 23STCV18035, 23STCV18042, 23STCV18055, 23STCV18077,
23STCV18081, 23STCV18088, 23STCV18089, 23STCV18090, 23STCV18091,
23STCV18092, 23STCV18100, 23STCV18102, 23STCV18107, 23STCV18113,
23STCV18310, 23STCV18315, 23STCV18322, 23STCV18387, 23STCV18405,
23STCV18413, 23STCV18459, 23STCV18465, 23STCV18487, 23STCV18502,
23STCV18595, 23STCV18622, 23STCV18743, 23STCV18759, 23STCV19311,
23STCV19324, 23STCV19330, 23STCV19344, 23STCV19519, 23STCV19527,
23STCV19610, 23STCV19631, 23STCV19649, 23STCV19672, 23STCV19697,
23STCV19698, 23STCV19715, 23STCV19759, 23STCV19763, 23STCV19766,
23STCV19767, 23STCV19973, 23STCV20032, 23STCV20059, 23STCV20061,
23STCV20077, 23STCV20078, 23STCV20079, 23STCV20080, 23STCV20083,
23STCV20087, 23STCV20089, 23STCV20096, 23STCV20099, 23STCV20153,
23STCV20157, 23STCV20161, 23STCV20351, 23STCV20359, 23STCV20373,
23STCV20378, 23STCV20395, 23STCV20530, 23STCV20531, 23STCV20533,
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                         Civil Division
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JCCP5255                                                                      February 19, 2025
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Judge: Honorable Carolyn B. Kuhl               CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                ERM: None
Courtroom Assistant: M. Miro                   Deputy Sheriff: None

23STCV20541, 23STCV20737, 23STCV20744, 23STCV20747, 23STCV20755,
23STCV20759, 23STCV20785, 23STCV20792, 23STCV20800, 23STCV20802,
23STCV20817, 23STCV20850, 23STCV20855, 23STCV21004, 23STCV21017,
23STCV21031, 23STCV21035, 23STCV21044, 23STCV21056, 23STCV21059,
23STCV21105, 23STCV21108, 23STCV21676, 23STCV21955, 23STCV21958,
23STCV22041, 23STCV22044, 23STCV22046, 23STCV22053, 23STCV22055,
23STCV22209, 23STCV22403, 23STCV22419, 23STCV22481, 23STCV22628,
23STCV22740, 23STCV22747, 23STCV22754, 23STCV22867, 23STCV22956,
23STCV23003, 23STCV23057, 23STCV23061, 23STCV23065, 23STCV23066,
23STCV23072, 23STCV23078, 23STCV23094, 23STCV23160, 23STCV23163,
23STCV23165, 23STCV23183, 23STCV23231, 23STCV23253, 23STCV23255,
23STCV23467, 23STCV23526, 23STCV23544, 23STCV23545, 23STCV23552,
23STCV23553, 23STCV23597, 23STCV23606, 23STCV23611, 23STCV23618,
23STCV23624, 23STCV23635, 23STCV23641, 23STCV23657, 23STCV23661,
23STCV23679, 23STCV23680, 23STCV23681, 23STCV23684, 23STCV23690,
23STCV23691, 23STCV23693, 23STCV23695, 23STCV23696, 23STCV23697,
23STCV23699, 23STCV23702, 23STCV23710, 23STCV23734, 23STCV23764,
23STCV23772, 23STCV23775, 23STCV23778, 23STCV23791, 23STCV23794,
23STCV23801, 23STCV23808, 23STCV23823, 23STCV23849, 23STCV23871,
23STCV23876, 23STCV23889, 23STCV23894, 23STCV23902, 23STCV23920,
23STCV23925, 23STCV23936, 23STCV23959, 23STCV23970, 23STCV23979,
23STCV24056, 23STCV24079, 23STCV24082, 23STCV24084, 23STCV24135,
23STCV24146, 23STCV24332, 23STCV24468, 23STCV24474, 23STCV24483,
23STCV24492, 23STCV24609, 23STCV24692, 23STCV24695, 23STCV24700,
23STCV24701, 23STCV24721, 23STCV24768, 23STCV25221, 23STCV25439,
23STCV25458, 23STCV25512, 23STCV25575, 23STCV25615, 23STCV25621,
23STCV25647, 23STCV26013, 23STCV26022, 23STCV26034, 23STCV26087,
23STCV26297, 23STCV26301, 23STCV26308, 23STCV26328, 23STCV26379,
23STCV26750, 23STCV26814, 23STCV27454, 23STCV27607, 23STCV27628,
23STCV27771, 23STCV27778, 23STCV27890, 23STCV27945, 23STCV28201,
23STCV28740, 23STCV28759, 23STCV28818, 23STCV28839, 23STCV28846,
23STCV28908, 23STCV28918, 23STCV28923, 23STCV28939, 23STCV28942,
23STCV28972, 23STCV28979, 23STCV29101, 23STCV29307, 23STCV29355,
23STCV29363, 23STCV29372, 23STCV29377, 23STCV29382, 23STCV29397,
23STCV29401, 23STCV29407, 23STCV29423, 23STCV29434, 23STCV29441,
23STCV29457, 23STCV29467, 23STCV29489, 23STCV29501, 23STCV29518,
23STCV29536, 23STCV29552, 23STCV29565, 23STCV29575, 23STCV29657,
23STCV29659, 23STCV29669, 23STCV29677, 23STCV29681, 23STCV29702,
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
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JCCP5255                                                                      February 19, 2025
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Judge: Honorable Carolyn B. Kuhl               CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                ERM: None
Courtroom Assistant: M. Miro                   Deputy Sheriff: None

23STCV29710, 23STCV29719, 23STCV29729, 23STCV29740, 23STCV29749,
23STCV29791, 23STCV29793, 23STCV29807, 23STCV29854, 23STCV30215,
23STCV30266, 23STCV30274, 23STCV30285, 23STCV31168, 23STCV31179,
23STCV31190, 23STCV31485, 23STCV31501, 23STCV31544, 23STCV31561,
23STCV31571, 23STCV31686, 23STCV31704, 23STCV31708, 24-CIV-00524, 24-CIV-00771,
24-CIV-01658, 24-CIV-02308, 24-CIV-03050, 24-CIV-04469, 24CV445753, 24SMCV00011,
24SMCV00050, 24SMCV00732, 24SMCV01126, 24SMCV02075, 24SMCV02123,
24SMCV02178, 24SMCV02179, 24SMCV02184, 24SMCV02541, 24SMCV03053,
24SMCV03261, 24SMCV03519, 24SMCV04019, 24SMCV04625, 24SMCV04957,
24SMCV05512, 24SMCV05529, 24SMCV05575, 24SMCV05583, 24SMCV05616,
24SMCV05808, 24SMCV06324, 24STCV00076, 24STCV00352, 24STCV00640,
24STCV00674, 24STCV00866, 24STCV00880, 24STCV01375, 24STCV01473,
24STCV01945, 24STCV01954, 24STCV02018, 24STCV02054, 24STCV02153,
24STCV02201, 24STCV02232, 24STCV02467, 24STCV02472, 24STCV02489,
24STCV02490, 24STCV02518, 24STCV02536, 24STCV02539, 24STCV02554,
24STCV02555, 24STCV02576, 24STCV02608, 24STCV02620, 24STCV02632,
24STCV02640, 24STCV02675, 24STCV02723, 24STCV02765, 24STCV02885,
24STCV02923, 24STCV03042, 24STCV03111, 24STCV03218, 24STCV03273,
24STCV03611, 24STCV03643, 24STCV03699, 24STCV03739, 24STCV03750,
24STCV03839, 24STCV03902, 24STCV04037, 24STCV04083, 24STCV04112,
24STCV04130, 24STCV04160, 24STCV04193, 24STCV04221, 24STCV04401,
24STCV04510, 24STCV04533, 24STCV04541, 24STCV04544, 24STCV04549,
24STCV04562, 24STCV04565, 24STCV04569, 24STCV04573, 24STCV04576,
24STCV04615, 24STCV04624, 24STCV04913, 24STCV05219, 24STCV05265,
24STCV05629, 24STCV05947, 24STCV05967, 24STCV05975, 24STCV05979,
24STCV05985, 24STCV06028, 24STCV06374, 24STCV06400, 24STCV06476,
24STCV06481, 24STCV06489, 24STCV06572, 24STCV06611, 24STCV06639,
24STCV07125, 24STCV07221, 24STCV07288, 24STCV07291, 24STCV07300,
24STCV07304, 24STCV07472, 24STCV07527, 24STCV07598, 24STCV07617,
24STCV07658, 24STCV07691, 24STCV07962, 24STCV08081, 24STCV08101,
24STCV08108, 24STCV08114, 24STCV08138, 24STCV08479, 24STCV08788,
24STCV08799, 24STCV08874, 24STCV09204, 24STCV09361, 24STCV09365,
24STCV09377, 24STCV09424, 24STCV09641, 24STCV09679, 24STCV09961,
24STCV09974, 24STCV10001, 24STCV10017, 24STCV10020, 24STCV10026,
24STCV10033, 24STCV10037, 24STCV10628, 24STCV10757, 24STCV10853,
24STCV10954, 24STCV11092, 24STCV11339, 24STCV11371, 24STCV11520,
24STCV11532, 24STCV11589, 24STCV11750, 24STCV11763, 24STCV11775,
24STCV11807, 24STCV11812, 24STCV11833, 24STCV11834, 24STCV11888,
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                          Civil Division
                   Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                       February 19, 2025
Social Media Cases                                                                     9:00 AM


Judge: Honorable Carolyn B. Kuhl                CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                 ERM: None
Courtroom Assistant: M. Miro                    Deputy Sheriff: None

24STCV11897, 24STCV11911, 24STCV11924, 24STCV11930, 24STCV11938,
24STCV11939, 24STCV12048, 24STCV12100, 24STCV12270, 24STCV12272,
24STCV12625, 24STCV12636, 24STCV12699, 24STCV12727, 24STCV13424,
24STCV13462, 24STCV13527, 24STCV13918, 24STCV14355, 24STCV14385,
24STCV14404, 24STCV14457, 24STCV14741, 24STCV14767, 24STCV15255,
24STCV15690, 24STCV15732, 24STCV15827, 24STCV15931, 24STCV15947,
24STCV16276, 24STCV16288, 24STCV16364, 24STCV16636, 24STCV16910,
24STCV16998, 24STCV17459, 24STCV17509, 24STCV17521, 24STCV17830,
24STCV17973, 24STCV18081, 24STCV18220, 24STCV18227, 24STCV18318,
24STCV18320, 24STCV18371, 24STCV19061, 24STCV19173, 24STCV19219,
24STCV19223, 24STCV19371, 24STCV19446, 24STCV19449, 24STCV19455,
24STCV20205, 24STCV20226, 24STCV20229, 24STCV20238, 24STCV20243,
24STCV20775, 24STCV20776, 24STCV20861, 24STCV20866, 24STCV20868,
24STCV20888, 24STCV20890, 24STCV20906, 24STCV20915, 24STCV20916,
24STCV20924, 24STCV20928, 24STCV20939, 24STCV21928, 24STCV21932,
24STCV21943, 24STCV22153, 24STCV22355, 24STCV22869, 24STCV22993,
24STCV23167, 24STCV23472, 24STCV23790, 24STCV23809, 24STCV23830,
24STCV23840, 24STCV23987, 24STCV24047, 24STCV24053, 24STCV24059,
24STCV24390, 24STCV24468, 24STCV24475, 24STCV24573, 24STCV24600,
24STCV24642, 24STCV25596, 24STCV25752, 24STCV25916, 24STCV26650,
24STCV26703, 24STCV26713, 24STCV26985, 24STCV26990, 24STCV26999,
24STCV27131, 24STCV27304, 24STCV27675, 24STCV28047, 24STCV28054,
24STCV28201, 24STCV28896, 24STCV28897, 24STCV28898, 24STCV28917,
24STCV28933, 24STCV29069, 24STCV29247, 24STCV29429, 24STCV29431,
24STCV29537, 24STCV30111, 24STCV30119, 24STCV30127, 24STCV30138,
24STCV30244, 24STCV30289, 24STCV30430, 24STCV30438, 24STCV30955,
24STCV30957, 24STCV30975, 24STCV31466, 24STCV31473, 24STCV31480,
24STCV31490, 24STCV31494, 24STCV31705, 24STCV31737, 24STCV31741,
24STCV32210, 24STCV32781, 24STCV32858, 24STCV32939, 24STCV32965,
24STCV32969, 24STCV32988, 24STCV33097, 24STCV33304, 24STCV33387,
24STCV33638, 24STCV33809, 24STCV33882, 24STCV33909, 24STCV33987,
24STCV33990, 24STCV34063, 24STCV34079, 24STCV34761, 25STCV00163, 30-2023-
01306723-CU-PL-CJC, 30-2023-01353990-CU-PL-CXC, 34-2022-00329620, 37-2022-
00038271-CU-PL-CTL, 37-2023-00033242-CU-PL-CTL, CIVSB2218921, CIVSB2224125,
CIVSB2225355, and CV2022-1472.

A Joint Report is to be filed by 3/17/2025.

                                          Minute Order                              Page 8 of 17
    Case 4:22-md-03047-YGR             Document 1768-1       Filed 03/14/25     Page 10 of 18

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                        February 19, 2025
Social Media Cases                                                                      9:00 AM


Judge: Honorable Carolyn B. Kuhl                    CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                     ERM: None
Courtroom Assistant: M. Miro                        Deputy Sheriff: None

Plaintiff's Liaison Counsel is to provide notice.

The Hearing on Motion for Leave to File First Amended Short Form Complaint on Behalf of
Bellwether Plaintiff Jaime Loach (23STCV19697) scheduled for 02/19/2025 is 'Held' for case
23STCV19697.

The Further Status Conference (All Cases) scheduled for 02/19/2025 is 'Held' for cases 22-CIV-
03178, 22-CIV-03731, 22-CV-066, 22CV019089, 22CV409251, 22SMCV02834,
22SMCV02838, 22SMCV02875, 22STCV21355, 22STCV24332, 22STCV26778,
22STCV26829, 22STCV28200, 22STCV28201, 22STCV28202, 22STCV28204,
22STCV31543, 22STCV36006, 22STCV36184, 22STCV37068, 22STCV38197,
22STCV38204, 22STCV38670, 22STCV38918, 22STCV38956, 22STCV39250,
22STCV39268, 22STCV40543, 22STCV40977, 23-CIV-01287, 23-CIV-04600, 23CV421466,
23SMCV00026, 23SMCV00659, 23SMCV03371, 23SMCV04270, 23STCV00707,
23STCV01417, 23STCV01440, 23STCV01481, 23STCV01857, 23STCV02183,
23STCV02260, 23STCV02372, 23STCV03094, 23STCV03690, 23STCV04303,
23STCV05370, 23STCV05371, 23STCV06277, 23STCV06685, 23STCV07277,
23STCV07750, 23STCV07763, 23STCV08004, 23STCV08659, 23STCV08891,
23STCV10105, 23STCV12341, 23STCV12373, 23STCV12916, 23STCV12931,
23STCV12935, 23STCV14241, 23STCV14496, 23STCV14527, 23STCV14568,
23STCV14577, 23STCV14585, 23STCV14622, 23STCV14629, 23STCV14795,
23STCV14901, 23STCV15036, 23STCV15055, 23STCV15197, 23STCV15655,
23STCV15691, 23STCV15704, 23STCV15710, 23STCV15785, 23STCV15788,
23STCV15859, 23STCV15860, 23STCV15863, 23STCV15866, 23STCV15909,
23STCV15912, 23STCV15920, 23STCV15930, 23STCV15955, 23STCV15961,
23STCV15975, 23STCV15991, 23STCV16011, 23STCV16012, 23STCV16016,
23STCV16023, 23STCV16025, 23STCV16027, 23STCV16028, 23STCV16032,
23STCV16035, 23STCV16041, 23STCV16050, 23STCV16059, 23STCV16071,
23STCV16076, 23STCV16080, 23STCV16085, 23STCV16089, 23STCV16111,
23STCV16118, 23STCV16125, 23STCV16157, 23STCV16181, 23STCV16199,
23STCV16205, 23STCV16209, 23STCV16211, 23STCV16214, 23STCV16216,
23STCV16225, 23STCV16229, 23STCV16235, 23STCV16241, 23STCV16246,
23STCV16296, 23STCV16301, 23STCV16303, 23STCV16359, 23STCV16363,
23STCV16367, 23STCV16373, 23STCV16387, 23STCV16406, 23STCV16520,
23STCV16524, 23STCV16526, 23STCV16534, 23STCV16540, 23STCV16548,
23STCV16553, 23STCV16686, 23STCV16816, 23STCV16820, 23STCV16884,
23STCV16898, 23STCV16907, 23STCV16925, 23STCV16931, 23STCV16934,
23STCV16938, 23STCV16939, 23STCV16943, 23STCV16944, 23STCV16946,
                                        Minute Order                                Page 9 of 17
   Case 4:22-md-03047-YGR          Document 1768-1        Filed 03/14/25      Page 11 of 18

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                         Civil Division
                  Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                      February 19, 2025
Social Media Cases                                                                    9:00 AM


Judge: Honorable Carolyn B. Kuhl               CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                ERM: None
Courtroom Assistant: M. Miro                   Deputy Sheriff: None

23STCV16947, 23STCV16949, 23STCV16958, 23STCV16964, 23STCV16975,
23STCV16982, 23STCV16988, 23STCV16992, 23STCV16995, 23STCV16996,
23STCV17013, 23STCV17014, 23STCV17017, 23STCV17021, 23STCV17033,
23STCV17043, 23STCV17044, 23STCV17054, 23STCV17065, 23STCV17066,
23STCV17069, 23STCV17076, 23STCV17085, 23STCV17088, 23STCV17092,
23STCV17098, 23STCV17102, 23STCV17356, 23STCV17368, 23STCV17373,
23STCV17407, 23STCV17414, 23STCV17418, 23STCV17420, 23STCV17423,
23STCV17482, 23STCV17578, 23STCV17613, 23STCV17615, 23STCV17620,
23STCV17663, 23STCV17687, 23STCV17691, 23STCV17694, 23STCV17696,
23STCV17701, 23STCV17705, 23STCV17709, 23STCV17713, 23STCV17720,
23STCV17722, 23STCV17730, 23STCV17735, 23STCV17742, 23STCV17746,
23STCV17751, 23STCV17758, 23STCV17759, 23STCV17997, 23STCV18035,
23STCV18042, 23STCV18055, 23STCV18077, 23STCV18081, 23STCV18088,
23STCV18089, 23STCV18090, 23STCV18091, 23STCV18092, 23STCV18100,
23STCV18102, 23STCV18107, 23STCV18113, 23STCV18310, 23STCV18315,
23STCV18322, 23STCV18387, 23STCV18405, 23STCV18413, 23STCV18459,
23STCV18465, 23STCV18487, 23STCV18502, 23STCV18595, 23STCV18622,
23STCV18743, 23STCV18759, 23STCV19311, 23STCV19324, 23STCV19330,
23STCV19344, 23STCV19519, 23STCV19527, 23STCV19610, 23STCV19631,
23STCV19649, 23STCV19672, 23STCV19697, 23STCV19698, 23STCV19715,
23STCV19759, 23STCV19763, 23STCV19766, 23STCV19767, 23STCV19973,
23STCV20032, 23STCV20059, 23STCV20061, 23STCV20077, 23STCV20078,
23STCV20079, 23STCV20080, 23STCV20083, 23STCV20087, 23STCV20089,
23STCV20096, 23STCV20099, 23STCV20153, 23STCV20157, 23STCV20161,
23STCV20351, 23STCV20359, 23STCV20373, 23STCV20378, 23STCV20395,
23STCV20530, 23STCV20531, 23STCV20533, 23STCV20541, 23STCV20737,
23STCV20744, 23STCV20747, 23STCV20755, 23STCV20759, 23STCV20785,
23STCV20792, 23STCV20800, 23STCV20802, 23STCV20817, 23STCV20850,
23STCV20855, 23STCV21004, 23STCV21017, 23STCV21031, 23STCV21035,
23STCV21044, 23STCV21056, 23STCV21059, 23STCV21105, 23STCV21108,
23STCV21676, 23STCV21955, 23STCV21958, 23STCV22041, 23STCV22044,
23STCV22046, 23STCV22053, 23STCV22055, 23STCV22209, 23STCV22403,
23STCV22419, 23STCV22481, 23STCV22628, 23STCV22740, 23STCV22747,
23STCV22754, 23STCV22867, 23STCV22956, 23STCV23003, 23STCV23057,
23STCV23061, 23STCV23065, 23STCV23066, 23STCV23072, 23STCV23078,
23STCV23094, 23STCV23160, 23STCV23163, 23STCV23165, 23STCV23183,
23STCV23231, 23STCV23253, 23STCV23255, 23STCV23467, 23STCV23526,
23STCV23544, 23STCV23545, 23STCV23552, 23STCV23553, 23STCV23597,
                                Minute Order                     Page 10 of 17
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                         Civil Division
                  Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                      February 19, 2025
Social Media Cases                                                                    9:00 AM


Judge: Honorable Carolyn B. Kuhl               CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                ERM: None
Courtroom Assistant: M. Miro                   Deputy Sheriff: None

23STCV23606, 23STCV23611, 23STCV23618, 23STCV23624, 23STCV23635,
23STCV23641, 23STCV23657, 23STCV23661, 23STCV23679, 23STCV23680,
23STCV23681, 23STCV23684, 23STCV23690, 23STCV23691, 23STCV23693,
23STCV23695, 23STCV23696, 23STCV23697, 23STCV23699, 23STCV23702,
23STCV23710, 23STCV23734, 23STCV23764, 23STCV23772, 23STCV23775,
23STCV23778, 23STCV23791, 23STCV23794, 23STCV23801, 23STCV23808,
23STCV23823, 23STCV23849, 23STCV23871, 23STCV23876, 23STCV23889,
23STCV23894, 23STCV23902, 23STCV23920, 23STCV23925, 23STCV23936,
23STCV23959, 23STCV23970, 23STCV23979, 23STCV24056, 23STCV24079,
23STCV24082, 23STCV24084, 23STCV24135, 23STCV24146, 23STCV24332,
23STCV24468, 23STCV24474, 23STCV24483, 23STCV24492, 23STCV24609,
23STCV24692, 23STCV24695, 23STCV24700, 23STCV24701, 23STCV24721,
23STCV24768, 23STCV25221, 23STCV25439, 23STCV25458, 23STCV25512,
23STCV25575, 23STCV25615, 23STCV25621, 23STCV25647, 23STCV26013,
23STCV26022, 23STCV26034, 23STCV26087, 23STCV26297, 23STCV26301,
23STCV26308, 23STCV26328, 23STCV26379, 23STCV26750, 23STCV26814,
23STCV27454, 23STCV27607, 23STCV27628, 23STCV27771, 23STCV27778,
23STCV27890, 23STCV27945, 23STCV28201, 23STCV28740, 23STCV28759,
23STCV28818, 23STCV28839, 23STCV28846, 23STCV28908, 23STCV28918,
23STCV28923, 23STCV28939, 23STCV28942, 23STCV28972, 23STCV28979,
23STCV29101, 23STCV29307, 23STCV29355, 23STCV29363, 23STCV29372,
23STCV29377, 23STCV29382, 23STCV29397, 23STCV29401, 23STCV29407,
23STCV29423, 23STCV29434, 23STCV29441, 23STCV29457, 23STCV29467,
23STCV29489, 23STCV29501, 23STCV29518, 23STCV29536, 23STCV29552,
23STCV29565, 23STCV29575, 23STCV29657, 23STCV29659, 23STCV29669,
23STCV29677, 23STCV29681, 23STCV29702, 23STCV29710, 23STCV29719,
23STCV29729, 23STCV29740, 23STCV29749, 23STCV29791, 23STCV29793,
23STCV29807, 23STCV29854, 23STCV30215, 23STCV30266, 23STCV30274,
23STCV30285, 23STCV31168, 23STCV31179, 23STCV31190, 23STCV31485,
23STCV31501, 23STCV31544, 23STCV31561, 23STCV31571, 23STCV31686,
23STCV31704, 23STCV31708, 24-CIV-00524, 24-CIV-00771, 24-CIV-01658, 24-CIV-02308,
24-CIV-03050, 24-CIV-04469, 24CV445753, 24SMCV00011, 24SMCV00050, 24SMCV00732,
24SMCV01126, 24SMCV02075, 24SMCV02123, 24SMCV02178, 24SMCV02179,
24SMCV02184, 24SMCV02541, 24SMCV03053, 24SMCV03261, 24SMCV03519,
24SMCV04019, 24SMCV04625, 24STCV00076, 24STCV00352, 24STCV00640,
24STCV00674, 24STCV00866, 24STCV00880, 24STCV01375, 24STCV01473,
24STCV01945, 24STCV01954, 24STCV02018, 24STCV02054, 24STCV02153,
24STCV02201, 24STCV02232, 24STCV02467, 24STCV02472, 24STCV02489,
                                   Minute Order                        Page 11 of 17
   Case 4:22-md-03047-YGR          Document 1768-1        Filed 03/14/25      Page 13 of 18

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                         Civil Division
                  Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                      February 19, 2025
Social Media Cases                                                                    9:00 AM


Judge: Honorable Carolyn B. Kuhl               CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                ERM: None
Courtroom Assistant: M. Miro                   Deputy Sheriff: None

24STCV02490, 24STCV02518, 24STCV02536, 24STCV02539, 24STCV02554,
24STCV02555, 24STCV02576, 24STCV02608, 24STCV02620, 24STCV02632,
24STCV02640, 24STCV02675, 24STCV02723, 24STCV02765, 24STCV02885,
24STCV02923, 24STCV03042, 24STCV03111, 24STCV03218, 24STCV03273,
24STCV03611, 24STCV03643, 24STCV03699, 24STCV03739, 24STCV03750,
24STCV03839, 24STCV03902, 24STCV04037, 24STCV04083, 24STCV04112,
24STCV04130, 24STCV04160, 24STCV04193, 24STCV04221, 24STCV04401,
24STCV04510, 24STCV04533, 24STCV04541, 24STCV04544, 24STCV04549,
24STCV04562, 24STCV04565, 24STCV04569, 24STCV04573, 24STCV04576,
24STCV04615, 24STCV04624, 24STCV04913, 24STCV05219, 24STCV05265,
24STCV05629, 24STCV05947, 24STCV05967, 24STCV05975, 24STCV05979,
24STCV05985, 24STCV06028, 24STCV06374, 24STCV06400, 24STCV06476,
24STCV06481, 24STCV06489, 24STCV06572, 24STCV06611, 24STCV06639,
24STCV07125, 24STCV07221, 24STCV07288, 24STCV07291, 24STCV07300,
24STCV07304, 24STCV07472, 24STCV07527, 24STCV07598, 24STCV07617,
24STCV07658, 24STCV07691, 24STCV07962, 24STCV08081, 24STCV08101,
24STCV08108, 24STCV08114, 24STCV08138, 24STCV08479, 24STCV08788,
24STCV08799, 24STCV08874, 24STCV09204, 24STCV09361, 24STCV09365,
24STCV09377, 24STCV09424, 24STCV09641, 24STCV09679, 24STCV09961,
24STCV09974, 24STCV10001, 24STCV10017, 24STCV10020, 24STCV10026,
24STCV10033, 24STCV10037, 24STCV10628, 24STCV10757, 24STCV10853,
24STCV10954, 24STCV11092, 24STCV11339, 24STCV11371, 24STCV11520,
24STCV11532, 24STCV11589, 24STCV11750, 24STCV11763, 24STCV11775,
24STCV11807, 24STCV11812, 24STCV11833, 24STCV11834, 24STCV11888,
24STCV11897, 24STCV11911, 24STCV11924, 24STCV11930, 24STCV11938,
24STCV11939, 24STCV12048, 24STCV12100, 24STCV12270, 24STCV12272,
24STCV12625, 24STCV12636, 24STCV12699, 24STCV12727, 24STCV13424,
24STCV13462, 24STCV13527, 24STCV13918, 24STCV14355, 24STCV14385,
24STCV14404, 24STCV14457, 24STCV14741, 24STCV14767, 24STCV15255,
24STCV15690, 24STCV15732, 24STCV15827, 24STCV15931, 24STCV15947,
24STCV16276, 24STCV16288, 24STCV16364, 24STCV16636, 24STCV16910,
24STCV16998, 24STCV17459, 24STCV17509, 24STCV17521, 24STCV17830,
24STCV17973, 24STCV18081, 24STCV18220, 24STCV18227, 24STCV18318,
24STCV18320, 24STCV18371, 24STCV19061, 24STCV19173, 24STCV19219,
24STCV19223, 24STCV19371, 24STCV19446, 24STCV19449, 24STCV19455,
24STCV20205, 24STCV20226, 24STCV20229, 24STCV20238, 24STCV20243,
24STCV20775, 24STCV20776, 24STCV20861, 24STCV20866, 24STCV20868,
24STCV20888, 24STCV20890, 24STCV20906, 24STCV20915, 24STCV20916,
                                Minute Order                     Page 12 of 17
    Case 4:22-md-03047-YGR          Document 1768-1        Filed 03/14/25       Page 14 of 18

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                          Civil Division
                   Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                       February 19, 2025
Social Media Cases                                                                     9:00 AM


Judge: Honorable Carolyn B. Kuhl                CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                 ERM: None
Courtroom Assistant: M. Miro                    Deputy Sheriff: None

24STCV20924, 24STCV20928, 24STCV20939, 24STCV21928, 24STCV21932,
24STCV21943, 24STCV22153, 24STCV22355, 24STCV22869, 24STCV22993,
24STCV23167, 24STCV23472, 24STCV23790, 24STCV23809, 24STCV23830,
24STCV23840, 24STCV23987, 24STCV24047, 24STCV24053, 24STCV24059,
24STCV24390, 24STCV24468, 24STCV24475, 24STCV24573, 24STCV24600,
24STCV24642, 30-2023-01306723-CU-PL-CJC, 30-2023-01353990-CU-PL-CXC, 34-2022-
00329620, 37-2022-00038271-CU-PL-CTL, 37-2023-00033242-CU-PL-CTL, CIVSB2218921,
CIVSB2224125, CIVSB2225355, and CV2022-1472.

A copy of this minute order will append to the following coordinated cases under JCCP5255: 22-
CIV-03178, 22-CIV-03479, 22-CIV-03480, 22-CIV-03588, 22-CIV-03731, 22-CIV-03783, 22-
CIV-03808, 22-CV-066, 22CV019089, 22CV409251, 22SMCV02834, 22SMCV02838,
22SMCV02875, 22STCV02183, 22STCV21355, 22STCV24332, 22STCV26778,
22STCV26829, 22STCV28200, 22STCV28201, 22STCV28202, 22STCV28204,
22STCV31543, 22STCV36006, 22STCV36184, 22STCV37068, 22STCV38197,
22STCV38204, 22STCV38670, 22STCV38918, 22STCV38956, 22STCV39250,
22STCV39268, 22STCV40543, 22STCV40570, 22STCV40977, 23-CIV-01287, 23-CIV-04600,
23CV421466, 23SMCV00026, 23SMCV00659, 23SMCV03371, 23SMCV04270,
23SMCV05666, 23STCV00707, 23STCV01417, 23STCV01440, 23STCV01481,
23STCV01824, 23STCV01857, 23STCV02183, 23STCV02260, 23STCV02372,
23STCV03094, 23STCV03690, 23STCV04303, 23STCV05370, 23STCV05371,
23STCV06277, 23STCV06685, 23STCV07277, 23STCV07750, 23STCV07763,
23STCV08004, 23STCV08659, 23STCV08891, 23STCV10105, 23STCV12341,
23STCV12373, 23STCV12916, 23STCV12931, 23STCV12935, 23STCV14241,
23STCV14496, 23STCV14527, 23STCV14568, 23STCV14577, 23STCV14585,
23STCV14622, 23STCV14629, 23STCV14780, 23STCV14795, 23STCV14853,
23STCV14900, 23STCV14901, 23STCV15036, 23STCV15055, 23STCV15197,
23STCV15655, 23STCV15691, 23STCV15704, 23STCV15710, 23STCV15785,
23STCV15788, 23STCV15859, 23STCV15860, 23STCV15863, 23STCV15866,
23STCV15909, 23STCV15912, 23STCV15920, 23STCV15930, 23STCV15955,
23STCV15961, 23STCV15975, 23STCV15991, 23STCV16011, 23STCV16012,
23STCV16016, 23STCV16023, 23STCV16025, 23STCV16027, 23STCV16028,
23STCV16032, 23STCV16035, 23STCV16041, 23STCV16050, 23STCV16059,
23STCV16071, 23STCV16076, 23STCV16080, 23STCV16085, 23STCV16089,
23STCV16111, 23STCV16118, 23STCV16125, 23STCV16157, 23STCV16181,
23STCV16199, 23STCV16205, 23STCV16209, 23STCV16211, 23STCV16214,
23STCV16216, 23STCV16225, 23STCV16229, 23STCV16235, 23STCV16241,
23STCV16246, 23STCV16296, 23STCV16301, 23STCV16303, 23STCV16359,
                                         Minute Order                             Page 13 of 17
   Case 4:22-md-03047-YGR          Document 1768-1        Filed 03/14/25      Page 15 of 18

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                         Civil Division
                  Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                      February 19, 2025
Social Media Cases                                                                    9:00 AM


Judge: Honorable Carolyn B. Kuhl               CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                ERM: None
Courtroom Assistant: M. Miro                   Deputy Sheriff: None

23STCV16363, 23STCV16367, 23STCV16373, 23STCV16387, 23STCV16406,
23STCV16520, 23STCV16524, 23STCV16526, 23STCV16534, 23STCV16540,
23STCV16548, 23STCV16553, 23STCV16686, 23STCV16691, 23STCV16699,
23STCV16816, 23STCV16820, 23STCV16884, 23STCV16898, 23STCV16907,
23STCV16925, 23STCV16931, 23STCV16934, 23STCV16938, 23STCV16939,
23STCV16943, 23STCV16944, 23STCV16946, 23STCV16947, 23STCV16949,
23STCV16958, 23STCV16964, 23STCV16975, 23STCV16982, 23STCV16988,
23STCV16992, 23STCV16995, 23STCV16996, 23STCV17013, 23STCV17014,
23STCV17017, 23STCV17021, 23STCV17033, 23STCV17043, 23STCV17044,
23STCV17054, 23STCV17065, 23STCV17066, 23STCV17069, 23STCV17076,
23STCV17085, 23STCV17088, 23STCV17092, 23STCV17098, 23STCV17102,
23STCV17356, 23STCV17368, 23STCV17373, 23STCV17407, 23STCV17414,
23STCV17418, 23STCV17420, 23STCV17423, 23STCV17482, 23STCV17578,
23STCV17613, 23STCV17615, 23STCV17620, 23STCV17663, 23STCV17687,
23STCV17691, 23STCV17694, 23STCV17696, 23STCV17701, 23STCV17705,
23STCV17709, 23STCV17713, 23STCV17720, 23STCV17722, 23STCV17730,
23STCV17735, 23STCV17742, 23STCV17746, 23STCV17751, 23STCV17758,
23STCV17759, 23STCV17997, 23STCV18035, 23STCV18042, 23STCV18055,
23STCV18077, 23STCV18081, 23STCV18088, 23STCV18089, 23STCV18090,
23STCV18091, 23STCV18092, 23STCV18100, 23STCV18102, 23STCV18107,
23STCV18113, 23STCV18310, 23STCV18315, 23STCV18322, 23STCV18387,
23STCV18405, 23STCV18413, 23STCV18459, 23STCV18465, 23STCV18487,
23STCV18502, 23STCV18595, 23STCV18622, 23STCV18743, 23STCV18759,
23STCV19311, 23STCV19324, 23STCV19330, 23STCV19344, 23STCV19519,
23STCV19527, 23STCV19610, 23STCV19631, 23STCV19649, 23STCV19672,
23STCV19697, 23STCV19698, 23STCV19715, 23STCV19759, 23STCV19763,
23STCV19766, 23STCV19767, 23STCV19973, 23STCV20032, 23STCV20059,
23STCV20061, 23STCV20077, 23STCV20078, 23STCV20079, 23STCV20080,
23STCV20083, 23STCV20087, 23STCV20089, 23STCV20096, 23STCV20099,
23STCV20153, 23STCV20157, 23STCV20161, 23STCV20351, 23STCV20359,
23STCV20373, 23STCV20378, 23STCV20393, 23STCV20395, 23STCV20530,
23STCV20531, 23STCV20533, 23STCV20541, 23STCV20737, 23STCV20744,
23STCV20747, 23STCV20755, 23STCV20759, 23STCV20785, 23STCV20792,
23STCV20800, 23STCV20802, 23STCV20817, 23STCV20850, 23STCV20855,
23STCV21004, 23STCV21017, 23STCV21031, 23STCV21035, 23STCV21044,
23STCV21056, 23STCV21059, 23STCV21105, 23STCV21108, 23STCV21676,
23STCV21955, 23STCV21958, 23STCV21982, 23STCV22041, 23STCV22044,
23STCV22046, 23STCV22053, 23STCV22055, 23STCV22209, 23STCV22403,
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                         Civil Division
                  Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                      February 19, 2025
Social Media Cases                                                                    9:00 AM


Judge: Honorable Carolyn B. Kuhl               CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                ERM: None
Courtroom Assistant: M. Miro                   Deputy Sheriff: None

23STCV22419, 23STCV22481, 23STCV22628, 23STCV22740, 23STCV22747,
23STCV22754, 23STCV22867, 23STCV22875, 23STCV22956, 23STCV23003,
23STCV23057, 23STCV23061, 23STCV23063, 23STCV23065, 23STCV23066,
23STCV23072, 23STCV23078, 23STCV23094, 23STCV23160, 23STCV23163,
23STCV23165, 23STCV23183, 23STCV23231, 23STCV23253, 23STCV23255,
23STCV23467, 23STCV23526, 23STCV23544, 23STCV23545, 23STCV23552,
23STCV23553, 23STCV23559, 23STCV23597, 23STCV23606, 23STCV23611,
23STCV23618, 23STCV23624, 23STCV23635, 23STCV23641, 23STCV23657,
23STCV23661, 23STCV23679, 23STCV23680, 23STCV23681, 23STCV23684,
23STCV23690, 23STCV23691, 23STCV23693, 23STCV23695, 23STCV23696,
23STCV23697, 23STCV23698, 23STCV23699, 23STCV23702, 23STCV23710,
23STCV23734, 23STCV23764, 23STCV23772, 23STCV23775, 23STCV23778,
23STCV23791, 23STCV23794, 23STCV23801, 23STCV23807, 23STCV23808,
23STCV23823, 23STCV23849, 23STCV23871, 23STCV23873, 23STCV23876,
23STCV23889, 23STCV23894, 23STCV23902, 23STCV23920, 23STCV23925,
23STCV23936, 23STCV23959, 23STCV23970, 23STCV23979, 23STCV24056,
23STCV24079, 23STCV24082, 23STCV24084, 23STCV24135, 23STCV24146,
23STCV24148, 23STCV24332, 23STCV24468, 23STCV24474, 23STCV24483,
23STCV24492, 23STCV24609, 23STCV24692, 23STCV24695, 23STCV24700,
23STCV24701, 23STCV24721, 23STCV24768, 23STCV25221, 23STCV25439,
23STCV25458, 23STCV25512, 23STCV25575, 23STCV25615, 23STCV25621,
23STCV25647, 23STCV26013, 23STCV26022, 23STCV26034, 23STCV26087,
23STCV26297, 23STCV26301, 23STCV26308, 23STCV26328, 23STCV26379,
23STCV26750, 23STCV26814, 23STCV26875, 23STCV27454, 23STCV27607,
23STCV27628, 23STCV27771, 23STCV27778, 23STCV27890, 23STCV27945,
23STCV28201, 23STCV28740, 23STCV28759, 23STCV28818, 23STCV28839,
23STCV28846, 23STCV28908, 23STCV28918, 23STCV28923, 23STCV28939,
23STCV28942, 23STCV28972, 23STCV28979, 23STCV29101, 23STCV29307,
23STCV29355, 23STCV29363, 23STCV29372, 23STCV29377, 23STCV29382,
23STCV29397, 23STCV29401, 23STCV29407, 23STCV29423, 23STCV29434,
23STCV29441, 23STCV29457, 23STCV29467, 23STCV29489, 23STCV29501,
23STCV29518, 23STCV29536, 23STCV29552, 23STCV29565, 23STCV29575,
23STCV29657, 23STCV29659, 23STCV29669, 23STCV29677, 23STCV29681,
23STCV29702, 23STCV29710, 23STCV29719, 23STCV29729, 23STCV29740,
23STCV29749, 23STCV29791, 23STCV29793, 23STCV29807, 23STCV29854,
23STCV30215, 23STCV30261, 23STCV30266, 23STCV30274, 23STCV30285,
23STCV31168, 23STCV31179, 23STCV31190, 23STCV31485, 23STCV31501,
23STCV31544, 23STCV31561, 23STCV31571, 23STCV31686, 23STCV31704,
                                Minute Order                     Page 15 of 17
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                         Civil Division
                  Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                      February 19, 2025
Social Media Cases                                                                    9:00 AM


Judge: Honorable Carolyn B. Kuhl               CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                ERM: None
Courtroom Assistant: M. Miro                   Deputy Sheriff: None

23STCV31708, 24-CIV-00524, 24-CIV-00771, 24-CIV-01658, 24-CIV-02308, 24-CIV-03050,
24-CIV-04469, 24CV445753, 24SMCV00011, 24SMCV00050, 24SMCV00732,
24SMCV01126, 24SMCV02075, 24SMCV02123, 24SMCV02178, 24SMCV02179,
24SMCV02184, 24SMCV02541, 24SMCV03053, 24SMCV03261, 24SMCV03519,
24SMCV04019, 24SMCV04625, 24SMCV04957, 24SMCV05512, 24SMCV05529,
24SMCV05575, 24SMCV05583, 24SMCV05616, 24SMCV05808, 24SMCV06324,
24STCV00076, 24STCV00352, 24STCV00640, 24STCV00674, 24STCV00866,
24STCV00880, 24STCV01375, 24STCV01468, 24STCV01473, 24STCV01945,
24STCV01954, 24STCV01970, 24STCV02018, 24STCV02054, 24STCV02153,
24STCV02201, 24STCV02232, 24STCV02467, 24STCV02472, 24STCV02489,
24STCV02490, 24STCV02518, 24STCV02536, 24STCV02539, 24STCV02554,
24STCV02555, 24STCV02576, 24STCV02608, 24STCV02620, 24STCV02632,
24STCV02640, 24STCV02675, 24STCV02723, 24STCV02765, 24STCV02885,
24STCV02923, 24STCV03042, 24STCV03111, 24STCV03218, 24STCV03273,
24STCV03611, 24STCV03643, 24STCV03699, 24STCV03739, 24STCV03750,
24STCV03839, 24STCV03902, 24STCV04037, 24STCV04083, 24STCV04112,
24STCV04130, 24STCV04160, 24STCV04193, 24STCV04221, 24STCV04401,
24STCV04510, 24STCV04533, 24STCV04541, 24STCV04544, 24STCV04549,
24STCV04562, 24STCV04565, 24STCV04569, 24STCV04573, 24STCV04576,
24STCV04593, 24STCV04615, 24STCV04624, 24STCV04652, 24STCV04913,
24STCV05219, 24STCV05265, 24STCV05629, 24STCV05947, 24STCV05967,
24STCV05975, 24STCV05979, 24STCV05985, 24STCV06028, 24STCV06374,
24STCV06400, 24STCV06476, 24STCV06481, 24STCV06489, 24STCV06572,
24STCV06611, 24STCV06639, 24STCV07125, 24STCV07221, 24STCV07288,
24STCV07291, 24STCV07300, 24STCV07304, 24STCV07472, 24STCV07527,
24STCV07598, 24STCV07617, 24STCV07658, 24STCV07691, 24STCV07962,
24STCV08081, 24STCV08101, 24STCV08108, 24STCV08114, 24STCV08138,
24STCV08479, 24STCV08788, 24STCV08799, 24STCV08874, 24STCV09204,
24STCV09361, 24STCV09365, 24STCV09377, 24STCV09424, 24STCV09641,
24STCV09679, 24STCV09961, 24STCV09974, 24STCV10001, 24STCV10017,
24STCV10020, 24STCV10026, 24STCV10033, 24STCV10037, 24STCV10628,
24STCV10757, 24STCV10853, 24STCV10954, 24STCV11092, 24STCV11339,
24STCV11371, 24STCV11520, 24STCV11532, 24STCV11589, 24STCV11750,
24STCV11763, 24STCV11775, 24STCV11807, 24STCV11812, 24STCV11833,
24STCV11834, 24STCV11888, 24STCV11897, 24STCV11911, 24STCV11924,
24STCV11930, 24STCV11938, 24STCV11939, 24STCV12048, 24STCV12100,
24STCV12270, 24STCV12272, 24STCV12625, 24STCV12636, 24STCV12699,
24STCV12727, 24STCV13424, 24STCV13462, 24STCV13527, 24STCV13918,
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                         Civil Division
                  Central District, Spring Street Courthouse, Department 12

JCCP5255                                                                      February 19, 2025
Social Media Cases                                                                    9:00 AM


Judge: Honorable Carolyn B. Kuhl               CSR: Gail Peeples CSR# 11458
Judicial Assistant: L. M'Greene                ERM: None
Courtroom Assistant: M. Miro                   Deputy Sheriff: None

24STCV14355, 24STCV14385, 24STCV14399, 24STCV14404, 24STCV14457,
24STCV14741, 24STCV14767, 24STCV15255, 24STCV15643, 24STCV15690,
24STCV15732, 24STCV15827, 24STCV15931, 24STCV15947, 24STCV16276,
24STCV16288, 24STCV16296, 24STCV16364, 24STCV16636, 24STCV16910,
24STCV16998, 24STCV17459, 24STCV17509, 24STCV17521, 24STCV17830,
24STCV17973, 24STCV18081, 24STCV18220, 24STCV18227, 24STCV18318,
24STCV18320, 24STCV18371, 24STCV19061, 24STCV19173, 24STCV19219,
24STCV19223, 24STCV19371, 24STCV19446, 24STCV19449, 24STCV19455,
24STCV20205, 24STCV20226, 24STCV20229, 24STCV20238, 24STCV20243,
24STCV20775, 24STCV20776, 24STCV20861, 24STCV20866, 24STCV20868,
24STCV20888, 24STCV20890, 24STCV20906, 24STCV20915, 24STCV20916,
24STCV20924, 24STCV20928, 24STCV20939, 24STCV21928, 24STCV21932,
24STCV21943, 24STCV22153, 24STCV22355, 24STCV22869, 24STCV22993,
24STCV23167, 24STCV23472, 24STCV23790, 24STCV23809, 24STCV23830,
24STCV23840, 24STCV23987, 24STCV24047, 24STCV24053, 24STCV24059,
24STCV24390, 24STCV24468, 24STCV24475, 24STCV24573, 24STCV24600,
24STCV24642, 24STCV25596, 24STCV25752, 24STCV25916, 24STCV26650,
24STCV26703, 24STCV26713, 24STCV26985, 24STCV26990, 24STCV26999,
24STCV27131, 24STCV27304, 24STCV27675, 24STCV28047, 24STCV28054,
24STCV28201, 24STCV28896, 24STCV28897, 24STCV28898, 24STCV28917,
24STCV28933, 24STCV29069, 24STCV29247, 24STCV29429, 24STCV29431,
24STCV29537, 24STCV30111, 24STCV30119, 24STCV30127, 24STCV30138,
24STCV30244, 24STCV30289, 24STCV30430, 24STCV30438, 24STCV30955,
24STCV30957, 24STCV30975, 24STCV31466, 24STCV31473, 24STCV31480,
24STCV31490, 24STCV31494, 24STCV31705, 24STCV31737, 24STCV31741,
24STCV32210, 24STCV32781, 24STCV32858, 24STCV32939, 24STCV32965,
24STCV32969, 24STCV32988, 24STCV33097, 24STCV33304, 24STCV33387,
24STCV33638, 24STCV33809, 24STCV33882, 24STCV33909, 24STCV33987,
24STCV33990, 24STCV34063, 24STCV34079, 24STCV34761, 25STCV00163, 30-2023-
01306723-CU-PL-CJC, 30-2023-01353990-CU-PL-CXC, 34-2022-00329620, 37-2022-
00038271-CU-PL-CTL, 37-2023-00033242-CU-PL-CTL, CIVSB2218921, CIVSB2224125,
CIVSB2225355, and CV2022-1472.




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